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                       EXHIBIT A
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                                           MANAGEM ENT AGREEM
                                           MANAGEMENT         ENT
                                                       AGREEMENT

     This MANAGEM
     This  MANAGEMENT ENT AGREEME NT isis made
                          AGREEMENT                entered into
                                               and entered
                                          made and              as of
                                                            intoas ofthis        day of
                                                                             lst day
                                                                       this !E[         ofMarch.    2016, by
                                                                                           March, 2016,   by
     and between
     and          BORREGO COMMUMT
          between BORREGO   COMMUNITYY HEALTH
                                          HEALTH FOUNDATT
                                                    FOUNDATION  ON (,.BC}IF
                                                                      ("BCHF"),          CaliforniaNon-piofit
                                                                                  '), aa California  Non-Profit
     Corporation, and
     Corporation,     PREMIER HEALTH
                  and PREMIER         CARE MANAGEM
                              HEALTH CARE      MANAGEMENT,ENT, INC.      ("PHCM"), aa Califomia
                                                                  INC. ('.PHCM,,),         California
     Corporation.
     Corporation.

                                                         RECITALS
                                                         RECITALS


     WHEREAS, BCHF
     WHEREAS,       BCHF isis aa 501(c[3)    non-profit public
                                 501(c)(3) non-profit            benefit corporation,
                                                         public benefit                organized under
                                                                         corporation, organized    under the   laws ofthe
                                                                                                          the laws  of the
     State of
     State of Califomia   and is
               California and        licensed to
                                 is licensed      operate Federally
                                               to operate             Qualified Health
                                                           Federally Qualified     Health Conters
                                                                                           Centers C.FeHC.).
                                                                                                    ("FQHC"). BCHF BCI{F
     curently
     currently operates
                operates FQHCS      throughout fuverside,
                         FQHCs tbroughout                    San Bemardino
                                                 Riverside, San   Bernardino andand san   Diego counties.
                                                                                     San Diego  Counties. TheThe FeHCs
                                                                                                                  FQHCs
     provide  comprehensi ve    primary   and  specialty care according
     provide comprehensive primary and specialty care according to the     to the scope
                                                                                  scope  ofservices
                                                                                         of             approved
                                                                                            services as approved by
                                                                                                     as             by the
                                                                                                                       the
     Bureau of
     Bureau   of Primary  Health care
                 Primary Health      Care C'BPHC)      within  the united    States Depanment    of Heahh
                                           ("BPHC") within the United States Department of Health and Human  and  Human
     Services ("DHHS").
     Services  ("DHHS"). TheThe approved      scope includes
                                  approved scope              performance of
                                                     includes performance     of primary
                                                                                 primary dental
                                                                                          dental services;
                                                                                                 services;

     WHEREAS, BCIIF
     WHEREAS,             desires to
                  BCHF desires        contract with
                                   to contract with PHCM
                                                     PHCM to to obtain
                                                                obtain various
                                                                       various managemen     services relating
                                                                                managementt services   relating to
                                                                                                                to
     BCIIF's
     BCHF's contract   Dental Program,
             Contract Dental               whereby BCTIF
                                Program, whereby                       with private
                                                            contracts wit]r
                                                     BCHF contracts         private dental practices to provide
                                                                                    dental practices to provide
     covered dental
     covered dental services
                    services to          patients ("Paxticipatin
                                 BCHF patients
                              to BCHF             ("Participatingg Patients");
                                                                   Patients"); and
                                                                               and

     WHEREAS, PHCM
     WHEREAS,                 contract with
                           to conbact
                   desires to
              PHCM desires             with BCHF to provide
                                            BCHF to provide those managementt services.
                                                            those managemen   services.

            THEREFORE,
     NOW, THEREFOR
     NOW,                     in consideratio
                           E, in considerationn ofthe
                                                of the recitats, covenants, conditions
                                                       recitals, covenants, conditions and promises herein
                                                                                       and promises herein
     contained, tfie
     contained, the  parties
                     parties agree
                             agree as
                                   as follows:
                                      follows:

          I.   DUTIES AND SNRVICFS
               DUTIES AND SERVICES

                   A.
                   A.   BCI{F agrees and covenants:
                        BCHF agrees      covenants:

                             i,i.   To
                                    To take  actions as
                                        take actions    necessary to
                                                     as lrecessary           its obligations
                                                                       meet its
                                                                    to meet      obligations under   any existing
                                                                                              under any  existing and/or
                                                                                                                  and/or
                                    future agreements with
                                    future agreements         contract dentists
                                                        with contract   dentists or other professionals performing
                                                                                           professionals  performing
                                    contract         services for
                                              dental services
                                    contract dental                BCHF ("Dental
                                                              for BCHF    ("Dental Agreements     ").
                                                                                      Agreements").

                             ii.
                             ii.    BCHF
                                    BCHF shall maintain a Care Coordinator                   Dental Director
                                                                                         and Dental
                                                                  Coordinator Specialist and                  as set
                                                                                                     Director as set
                                    forth in the        Agreements and shall notiff
                                             the Dental Agreements                   PHCM ofthe
                                                                              notify PHCM    of the name and contact
                                                                                                    name and  contact
                                                 for each position.
                                    information for       position.

                            iii. Where
                            iii.        required under
                                 Where required              Dental Agreements
                                                  under the Dental                            Agreement, BCItr
                                                                      Agreements and this Agreement,        BCHF shall
                                 cooperate
                                 cooperate and  timely  provide  PHCM
                                                        provide PHCM      with  all required  information to allow
                                                                                              information
                                 PHCM to timely fulfill all ofof its obligations  under this Agreement. BC[{F
                                                                     obligations under  this  Agreement.           shall
                                                                                                            BCHF shall
                                 provide
                                 provide PHCM
                                          PHCM access           Electronic
                                                  access to its Electronic   Health  Records   (,.EHR
                                                                                     Records ("EHR")     to allow
                                                                                                       ) to allow
                                 PHCM to determine ifa      particular patient is
                                                       if a particular             a,,Participat
                                                                                is a "Participating  patienf, as
                                                                                                 ing Patient" as that
                                                                                                                 that
                                 term is defined in the Dental A$eements
                                                                 Agreements.  ,

                             iv. BCHF
                             iv. BCHF shall timely and fully bill the appropriate payor             ofall
                                                                                            payment of
                                                                                  payor for payment        dental
                                                                                                       all dental
                                                                          Dentat Agreements.
                                 sorvices performed by dentists under the Dental
                                 services                                         Agreements.

                             v. BC11.17
                             v. BCIIF shall be responsible                      payall
                                               lesponsible for and shall timely pay all sums owing    dentists
                                                                                             owing to dentists
                                under any Dental Agreements providing PHCMPHCM with a copy ofofall such
                                                                                               all such
                                payments.
                                payments.

                                                                                            govern transactions


                                                                                                                             fiNt
                                 Cornply with all guidelines, laws and regulations which govern
                             vt Comply
                             vi.                                                                                and
                                                                                                   transactions and

\9                               security of electronic health records
                                 security                                        patient information.
                                                               records and other patient information.


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                     vii. Provide
                    vii.   Providefeedback
                                   feedbackon   PHCM'sproposed
                                             onPHCM's    proposedcontract   dentalservices
                                                                  contract dental  sewicesmanagement
                                                                                            management
                          plan
                           planand       diligentlywith
                                    workdiligently
                                andwork             withPHCM      determinemutually
                                                         PHCMtotodetermine    mutuallyagreeable
                                                                                        agreeableterms
                                                                                                  termsfor
                                                                                                        for
                          any  suchmanagement
                           anysuch  managementplan.
                                                  plan.

                     viii. To
                    viii.   Tocoordinate
                               coordinatewith
                                          withPHCM     regal'ding quality
                                                PHCMregarding      quality management/peer
                                                                           management/peer review
                                                                                            reviowand
                                                                                                   and
                           compliance
                            compliancewith
                                       withterms
                                             termsof  DentalAgreements.
                                                   ofDental   Agreements.

                       ix. To
                      ix.   Toprovide    copiesof
                               providecopies    ofall  DentalAgreements
                                                   allDental Agreements between
                                                                         betwesn BCHF
                                                                                  BCHF and
                                                                                        andcontract
                                                                                            contractdental
                                                                                                     dental
                           service
                            service providers
                                     providersto PHCM.
                                               to PHCM.

                      x.x To
                           Tobe
                              befinancially  responsible for
                                 financiallyresponsible   forthe
                                                              thefollowing:
                                                                  followirrg:

                                1.l. All
                                      Allfees
                                          feesdue   andpayable
                                                dueand  payable to
                                                                 tocontract
                                                                    contractdentists
                                                                             dentistsand
                                                                                      andother
                                                                                          other contract
                                                                                                 contractdental
                                                                                                          dental
                                      service providers
                                     service   providersfor
                                                         forservices
                                                             servicesprovided
                                                                      provided under   anyDental
                                                                                underany   DentalAgreements.
                                                                                                   Agr€ements.

                                2.2. Cost
                                      Costof      insurance policies
                                             all insurance
                                           ofall             policies ininthename
                                                                          the name of
                                                                                    ofBCHF,
                                                                                      BCHF, as
                                                                                             asrequired
                                                                                                requiredby
                                                                                                         by this
                                                                                                             this
                                     agreement.
                                      agreement.

                                 3. All
                                3.  All fees
                                         feesdue  PHCM under
                                              duePHCM   under the
                                                               theterms
                                                                   tenns of  thisAgreement.
                                                                          ofthis Agreement.

              B. PHCM
              B. PHCMagrees   and covenants:
                      agrees and   covenants:

                        i. To
                            To provide
                                provide the
                                          dre managerial    andother
                                               managerial and    other related              toBCHF
                                                                                  services to
                                                                         related services     BCHFas   asdescribed
                                                                                                          described in
                                                                                                                     in
                           Exhibit
                            Exhibit"A",     attached hereto and incorporated herein by reference, in
                                      "A", attached  hereto   and  incorporated     herein by reference,    in
                           furtherance
                            furtheranceof    BCHF's contract
                                          ofBCHF'S       contract dental
                                                                   dental programs.
                                                                            programs. The
                                                                                        The duties
                                                                                             dutieslisted
                                                                                                    listedonon Exhibit
                                                                                                               Exhibit
                           "A"
                            "A" are    considered by
                                  are considered    by both
                                                        both parties
                                                              parties to
                                                                       to be  material components
                                                                          be material   components of    this
                                                                                                      ofthis
                           Agreement.
                            Agreement. Any Any breach
                                                 breach of  such duties
                                                          ofsuch   dutios will
                                                                            will be
                                                                                 be considered
                                                                                     considered aamaterial
                                                                                                   material breach
                                                                                                              breach of
                                                                                                                      of
                           this
                            this Agreement.
                                 Agreement.

                        ii. Comply
                       ii.   Comply with
                                       with all
                                             all guidelines,
                                                 guidelines, laws
                                                              laws and
                                                                    and regulations
                                                                         regulations which
                                                                                      which govern
                                                                                              govem transactions
                                                                                                     transactions and
                                                                                                                   and
                            security
                             security of
                                      of electronic
                                          electronic health
                                                      health records
                                                              records and  other
                                                                       and otlrer patient
                                                                                  pstient information.
                                                                                           infomation.

        2. COMPENSATION
        2. CONTPIT,NSATION AND IIII,I,ING
                           AND BILLING

              A. Compensation.
              A.  Cornpensation. Inln consideration
                                      consideration forfor the
                                                            the services
                                                                 services to
                                                                           to be
                                                                              be provided
                                                                                 pr.ovided by
                                                                                            by PHCM
                                                                                                PHCM pursuant
                                                                                                          pursuaut to  to
                 this agreement   as             in Exhibit    "A"  and  as  reasonably
                  this agreement as desclibed in Exhibit "A" and as reasonsbly contemplated thereby,
                                     described                                           contemplated       thereby,
                 BCHF
                  BCI{F shall
                          shall compensate
                                compensate PHCM
                                             PHCM the  the sum
                                                             surn of five dollars
                                                                  offive   dollars ($5.00)
                                                                                    ($5.00) per
                                                                                            per visit
                                                                                                 visit for
                                                                                                        for the
                                                                                                             the first
                                                                                                                  first
                 8,000
                  8,000 participating
                         participating patient
                                        patient visits
                                                visits to  any contract
                                                        to any   contract dentist
                                                                           dentist pursuant   to any
                                                                                    pursuant to  any active
                                                                                                      active Dental
                                                                                                               DeDtal
                 Agreement.
                  Agreement.

                   BCHF
                   BCHF shall
                          shall compensate
                                eompensate PHCM
                                              PI{CM the
                                                      the sum
                                                           sum of
                                                               of twenty-five
                                                                   twenty-five dollars
                                                                               dollars ($25.00)
                                                                                        ($25.00) per
                                                                                                 per visit
                                                                                                     visit in
                                                                                                            in
                   excess
                   excess of
                          of 8,000
                             8,000 visits
                                   visits for
                                           for any calendar month.
                                               any calendar  month.

                   For
                   For purposes
                       purposes of this section,
                                 ofthis  section, aa "patient
                                                     "patient visit"   shall be
                                                                visit''shall  be aa visit
                                                                                    visit for
                                                                                           for which
                                                                                               which (i)
                                                                                                      (i) PHCM
                                                                                                          PHCM
                   provides
                   provides BCHF
                            BCI{F with
                                    with aa complete
                                             complete andand clean  claim,   including    all pertinent
                                                              clean claim, inchtding all pertinent treatment
                                                                                                         treatment and
                                                                                                                   and
                   demographic
                   demographic information;
                                 information; and
                                                and (ii)
                                                      (ii) for which BCHF
                                                           for which    BCIIF receives
                                                                                receives payment
                                                                                            payment from
                                                                                                     from the
                                                                                                            the
                   appropriate
                   appropriate payor
                               payor for
                                      for the  participating patient
                                           the participating    patient visit.
                                                                         visit.

               B. Billing.
               B. Billing. P1-1CM
                            PHCM shallshall bill
                                            bill BCHF
                                                 BCITIF monthly
                                                         rnonthly for
                                                                  for its
                                                                      its services
                                                                          sorvices and
                                                                                    anC remit
                                                                                         remit toto BCHF
                                                                                                    BCHF aa statement
                                                                                                              statenrent
                  during
                  during each
                          each month.
                                  month. Payments     contemplated    under   this agreement    shall
                                           Psymenls contemplated under this agreement shall reflect    reflect services
                                                                                                               services
                  performed in  in the
                                   the current
                                       current month,
                                                 month, not
                                                         not monthly inin arrears
                                                                           arcears unless
                                                                                   unless otherwise
                                                                                            otherwise mutually
                                                                                                        mutually
                  agreed
                  ageed to to in writing.
                                  writing. Payment
                                             Payment of   all monies
                                                       of all monies due
                                                                      due PHCM for      its fees
                                                                                    for its  fees shall
                                                                                                  shall be
                                                                                                        be paid
                                                                                                            paid on
                                                                                                                 on or
                                                                                                                     or
                  before the   10th  calendar    day of each
                  before the l0th calendal day ofeach month.  month.
\sI            C. PHCM,
               C. PI{CM, upon two (2)
                  and
                  and audit
                      audit if desired
                                      (2) days
                               desired the
                                          days written
                                        the billing and
                                                        notice to
                                                written notice to BCHF,
                                                                  BC}IF, shall
                                                    and payment records
                                                                          shall have
                                                                                have the
                                                                  records relating to
                                                                                      the right
                                                                                          right to
                                                                                   to dental
                                                                                                to review,
                                                                                                   review, copy
                                                                                       dental services
                                                                                                           copy
                                                                                              services under
                                                                                                        rnder all
                                                                                                              a
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                  Dental   Agreemsnts. This
                   Dental Agreements.     This right   to review,
                                                right to   review, copy    and audit
                                                                     copy and             desired shall
                                                                                sudit ififdesired   shall include
                                                                                                           inch.rde access
                                                                                                                     access
                   to all eleotronic and paper copies of (i) all bills generated related to dental services
                  to all electronic   and  paper  copies    of  (i) all bills generated     related  to dental    services
                  under
                   under any    Dental Agreement;
                           any Dental   Agroernent; (ii)          payments or
                                                             all payments
                                                        (iD all                   funds received
                                                                              or funds     re.ceived relating
                                                                                                      relating toto dental
                                                                                                                     dental
                  services
                   services under    any Dental
                             under any    Dental Agreement        including   but  not
                                                  A$eement including but not limited to  limited   to any
                                                                                                       any payments
                                                                                                             payments or or
                  funds
                   funds received
                          received from
                                    from patients
                                          patients or
                                                   or dentists.
                                                       dentists.

        3. TERMS
       3.  TERMS OF
                 O[' CONTRAC'(
                     COYTRACT

              A. Term.
              A. Term. The
                        The term
                              term of    this agreement
                                     of this   agreernent shall   be three
                                                           slrall be        (3) years
                                                                      thlee(3)  years commencing
                                                                                        commencing from
                                                                                                     from the
                                                                                                            the date
                                                                                                                date of
                                                                                                                     of
                 execution
                  execution set
                             set forth    above unless
                                  fortlr above   unless terminated
                                                         temtinated pursuant      in accordance
                                                                        pursuant in   accordance with
                                                                                                 with this
                                                                                                       this agreement.
                                                                                                             agreement.

              B. Termination.
              B. Termination. This   Agreement may
                                This Agreement   may bebe terminated
                                                           terminated by
                                                                      by either party, without
                                                                         either party, without cause,
                                                                                               cause, by
                                                                                                      by
                 either
                 eidrer party
                        party providing
                              providing the other
                                         the other party
                                                   party with  one-hundred   eighty (180) days written
                                                          with ono-hundred eighty (180) days written
                   notice.
                   notice.

              C.
              C Termination
                   erminstion forfor Cause.
                                     Cause. Either
                                              Either party    msy terminate
                                                      party may                  this agreement
                                                                    terminate this    agreement for  for cause.
                                                                                                          cause. Cause
                                                                                                                  Cause
                 shall
                  shall be
                        be considered   the failure
                            cousidered the   failure of
                                                     of either
                                                         either party       perfom, keep
                                                                        to perform,
                                                                 party to               keep oror fulfill
                                                                                                   fulfiI| any
                                                                                                           any material
                                                                                                               material
                  covenant, undertaking,
                 covenant,    undertBking, obligation,
                                             obligation, oror condition
                                                               oondition set
                                                                           set forth
                                                                                forth in   this agreement
                                                                                       in this   agreemeut andand the
                                                                                                                   the
                 continuance
                  continuance of               default for
                                        such default
                                   any such
                                 ofany                  for aa period  of thirty
                                                               period of           (30) days
                                                                           thirty (30)   days after
                                                                                                 after written
                                                                                                       written notice
                                                                                                                notice of
                                                                                                                       of
                 such
                  such failure.
                        failure.

                   Notwithstanding
                   Notwithstanding thethe foregoing,  BCHF shall
                                           foregoing, BCHF           be entitled
                                                               shall be           to terminate
                                                                        entitled to   terminate this
                                                                                                 this Agreement
                                                                                                      Agreement
                   immediately,   with or without notice, upon determination by the Health Resources
                    immediately, with  or  without notice, upon    determination    by  the  Health  Resources and
                                                                                                                and
                   Services
                    Services Administration
                             Administration ("HRSA")
                                               ("HRSA") oror any    other federal
                                                               any other           or state
                                                                           federal or  state agency
                                                                                             agency with
                                                                                                      with regulatory
                                                                                                           regulatory
                   or  advisory authority
                    or advisory authority over
                                            over BCHF
                                                 BCHF that
                                                        that this  Agreement violates
                                                              lhis Agreement    violates any
                                                                                           any rule
                                                                                                rule or
                                                                                                     or program
                                                                                                        program
                   requirement   pertaining  to a FQHC.
                    requir€ment pertaining to a FQHC.

               D. Renewal.
               D.            This agreement
                  Renewal, This     agreemont will
                                               will automatically  renew on
                                                    automatically renew   on the
                                                                             the third
                                                                                  third anniversary
                                                                                        anniversary forfor an
                                                                                                           an
                  additional
                  additional three  (3) years
                              three (3) years under
                                              under the  same terms
                                                     the same        and conditions
                                                               terms and conditions as as at
                                                                                          at the
                                                                                             tlre renewal
                                                                                                  renewal date.
                                                                                                           date.

        4. ASSIGNMENT
        4. ,{SSIGNMT.)NT

           Neither
           Neither PHCM
                   PHCM nor nor BCHF   may assign
                                BCHF may    assign its
                                                   its rights
                                                       rights or obligations under
                                                              or obligations under this
                                                                                   this agreement
                                                                                        agreement without
                                                                                                  without the
                                                                                                          the
           prior
           prior written
                 writtol consent
                         consent of the other
                                 ofthe  other party.
                                              party.

        5. INDEPENDENT
        5. INDE,PENDENT CONTRACTORS
                        CONTRACTORS

           PHCM andand BCHF
                        BCIIF are
                              are independent
                                   independent contracting          and the
                                               contracting parties and   the relationship between
                                                                                            between them
                                                                                                      them is
                                                                                                           is that
                                                                                                              that
           of independent contractors.  Nothing  in this agreement   shall be construed   to create a
           of independent contractors. Nothing in this agreement slrall be construed to create a principal-
           agent,
           agent, employer-employee,    master-servant or
                  employer-employee, master-servant     or any relationship other
                                                           any relationship  other than
                                                                                    than that
                                                                                         that of
                                                                                               of independent
                                                                                                  indepe[dent
           contractors.
           contractors-

        6. INDEMNITY
        6. INDEIINITY
           PHCM shall
                   shall defend, indemnify
                                  indemni! and
                                             zurd hold BCHF          and harmless
                                                               free and
                                                        BCI{F free       harrnless from any
                                                                                        any obligations,
                                                                                            obligations, costs,
                                                                                                          costs,
           claims,
           claims, judgments, attorney's
                                attolney's fees,
                                           fees, or attachments
                                                    attachments arising
                                                                  alising from
                                                                          frorn PHCM's
                                                                                PLICM's negligence inin the
                                                                                                        the
           performance of   the services
                         ofdre  services contemplated
                                          contemplated under
                                                         undor this Agreement.
                                                                     Agreement.

        7. INSURANCE
        7.

                A. Each Party, atat its sole
                A.                                 and expense,
                                        solo cost and   expense, will obtain
                                                                      obtain and
                                                                             and maintain in full force and
                                                                                                         and effect
                   during   the term
                   during the             of this
                                               this Agreement,           all renewals

                                                                                                                              k
                                  term of                         and all
                                                     Agreeme[t, and          ronewals andand extensions
                                                                                               extensions thereof,

\a                 comprehensive general
                   servants, and
                                      general liability
                             and independent
                   interruption,
                                                liability insurance
                                                          insurance covering the
                                   independent contractors,
                   interruption, general
                                                   conhaclors, against
                                  general liability,
                                                                against loss
                                                                                the Party,
                                                                                    Party, its
                                                                                           its employees,
                                                                                                employees, agents,
                                                                                                            agents,
                                                                        loss in the nature of fire, theft, business
                                                        and negligence, with
                                             liability, and              with aa minimum
                                                                                                           business
                                                                                  mininrum liability limit of Two
                                                                                                                     EXHIBIT A
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                 Million
                  MillionDollars
                            Dollars($2,000,000)
                                    ($2,000,000) per
                                                   peroccurrence
                                                        occurcnc€andandTwo
                                                                         TwoMillion
                                                                              MillionDollars
                                                                                       Dollars($2,000,000)
                                                                                               ($2,000,000) inin
                 the annual   aggregate.  Each   Party  shall provide  the other Party with  written
                  the annusl sggr€gate. Each Party shall provide the other Parly with wriftennotice   noticeatat
                 least thirty (30) days prior to any  cancellation or amendment   of the Party's policy.
                  least thirty (30) days prior to arry cancellation or amendment ofthe Party's policy.

              B. Each
             B.   EachParty
                        Partyshall,
                              shall,atatits
                                         itssole
                                             solecost
                                                  costand
                                                       andexpense,    obtainand
                                                            expense, obtain   andmaintain
                                                                                  maifltain ininfull
                                                                                                 firllforce
                                                                                                       forceand
                                                                                                             and
                 effect  duringthe
                  effectduring  Ereterm
                                      termofofthis   Agreernen! and
                                                thisAgreement,   andallallrenewals
                                                                           renewals and
                                                                                     andextensions
                                                                                          extensionsthereof,
                                                                                                         tlereo!
                 workers'
                  workers'compensation
                           compensation insurance     asrequired
                                            insuranceas  requiredby
                                                                  bythe  lawsof
                                                                     thelaws    the State
                                                                               ofthe Stateof   California.
                                                                                           ofCalifornia.

      8.8, MISCELLANEOUS    PROVISIONS
           MISCEI,I,ANI,OTISPROVISIO\S

             A. This
             A.                shallbe
                     Agrcementshall
                 ThisAgreement       beupheld
                                        upheldininaccordance
                                                   accordansewith   thelaws
                                                              with the  lawsof
                                                                             ofthe
                                                                                theState
                                                                                    Stateof
                                                                                          ofCalifornia.
                                                                                             Califomia.

              B. Notices
             B.   Noticestotoeither    partyshall
                              eitherparty     slrall be
                                                      beininwriting
                                                             writing and
                                                                      andsent
                                                                           sentbybyregistered
                                                                                    registered or
                                                                                                orcertified
                                                                                                   certified mail,
                                                                                                              mail,
                  addressed to the party at the addresses set forth at the conclusion ofthis
                 addressed   to the   party at the   addresses    set forth at the conclusion   of  thisagreement.
                                                                                                          agreement.
                 Any
                  Anynotice     given ininaccordance
                       noticegiven         accordancewith  withthis   Sectionshall
                                                                 thisSection    shallbe
                                                                                      beeffective
                                                                                         effective upon
                                                                                                    uponthethereceipt
                                                                                                               receiptof
                                                                                                                       of
                 said
                  saidnotice
                       notice or
                               orfive    (5)calendar
                                   five(5)   calendar daysdays following    havongiven
                                                                following haven     givensaid  notice,
                                                                                           said notice, whichever
                                                                                                         whichever isis
                 earlier.
                  earlier.Notice
                          Notice shall
                                     shallbe
                                           begiven
                                              givenas  asfollows:
                                                           follows:


          IfIf to BCHI:
                toBCHF:              BorregoCommunity
                                     Borrego               Health Foundation
                                               Community Health    Foundation
                                     P.O.
                                     P.O. Box
                                           Box2369
                                                2369
                                      Borrego Springs,
                                     Borrego            CA 920004
                                               Springs, CA  9200M
                                     Attn: Bruce  Hebets
                                     Attn: Bruce Hebets
                                      Fax: (760)
                                     Fax:   (760) 767-1135
                                                   767-1135
                                     Email:
                                     Email: bnenets(gjnorregomedicai.org
                                              bhebets@borreeomedical.orc

          Copy
          Copy of notices to:
                ofnotices  to:       Borrego
                                     Borrego Community
                                              Community Health
                                                           Health Foundation
                                                                    Foundation
                                     P.O.
                                     P.O. Box
                                           Box 2369
                                                2369
                                     Borrego
                                     Borrego Springs,  CA 920004
                                              Springs, CA    920004
                                     Attn:
                                     Aftn: Mikia
                                            Mikia Wallis,
                                                  Wallis, Chief  l"egal Officer
                                                          Chief Legal   Oflicer
                                     Fax:
                                     Fax: (858)
                                            (858) 634-6989
                                                   634-6989
                                      Email mwallis@borregomedical.org
                                     Email:  mwallisfD.bo       medical.ors


          IfIf to
                to PHCM:
                   PHCM:              Premier
                                      Premier Health
                                               Health Care
                                                        Care Management,
                                                              Management, Inc.
                                                                           Inc.
                                      124
                                       124 Main
                                           Main Street, Suite 240
                                                 Street, Suite  240
                                      El
                                      El Cajon,
                                          Cajon, CA
                                                 CA 92020
                                                      92020
                                      Fax:
                                      Fax: (619) 444-8597
                                           (619)  4,14-8597
                                      Attn: Daryl
                                      Attn:          R. Priest
                                              Daryl R.   Priest
                                      Email:  daryl@priesthomes.com
                                      Email: darvl(fu riesthomes.com

          Copy
          Copy of
               of notices
                  notices to:
                           to:        Fitch
                                      Fitch Law
                                            Law Firm,
                                                  Firm, APC
                                                         APC
                                      Stephen
                                      Stephen J.
                                               J. Fitch,
                                                  Fitch, Esq.
                                                         Esq.
                                      3465
                                      3465 Camino
                                            Camino DelDel Rio
                                                          Rio South,
                                                               South, Ste.
                                                                      Ste. 250
                                                                           250
                                      San
                                      San Diego,
                                           Diego, CA
                                                   CA 92108
                                                       92108
                                      Telephone
                                      Telephone No.
                                                  No. (619)
                                                       (619) 282-8100
                                                              282-8100
                                      Email:
                                      Email: steve@fitchlawfirm.com
                                              steve(@fi tchlawfi rm.com



               C. This
               C. This agreement
                        agreernent may
                                   may not
                                       not be
                                           be modified except
                                                       except by
                                                              by written
                                                                 written amendment
                                                                         amendment signed
                                                                                   signed by
                                                                                          by both
                                                                                             both
                  parties.



a              D. If
               D. lfany
                     any provision
                          provision of
                  reason, the
                  illegality
                  illegality or
                                        this agreement
                                     ofthis
                           the remaining
                             or invalidity
                                             agcement shall
                                rcmaining provisions shall
                                 invalidity prevents
                                                               be determined
                                                         shall be detennined to
                                                       shall continue
                                                             continue in
                                                                       in full
                                                     the accomplishments
                                            prevents the
                                                                               to be
                                                                                  be illegal
                                                                          full force
                                                          accomplishments of
                                                                                      illegal or
                                                                               force and
                                                                             oflho
                                                                                              or invalid for
                                                                                           effect unless
                                                                                     objectives and
                                                                                                         for any
                                                                                                         the
                                                                                      and effect unless the
                                                                                the objectives
                                                                                                             any

                                                                                                  and purposes
                                                                                                      purposes of
                                                                                                                of      A
                                                                                                                   EXHIBIT A
                                                                                                                   PAGE 159
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                   this agreement.
                        agreement.

              E. This agreement will be binding
              E.                         binding upon and inure to the benefit of the parties hereto and
                 their respective
                       rcspective successors
                                  successors and assigns.

              F. The headings contained in this agreement are for reference purposes only and shall
              F.                                                                              shall not
                 affect the meaning
                            meaning or interpretation of
                                                      ofthis
                                                         this agreement.

              G. If any action at law or in equity is necessary
              G.                                      necessary to enforce
                                                                   enforce or interpret
                                                                               interpret the terms ofthis
                                                                                             terms of this
                 agreement, the prevailing
                                  prevailing party in any such action shall be
                                                                            b€ entitled to payment
                                                                                            payment of its
                 reasonable attorney's
                             attomey's fees and costs
                                                 costs from the other party.

              H. Each party to this agreement
              H.                               wanants, authorizes,
                                    ageement warrants,   auftorizes, and represents that the individual
                 executing
                 ex€cuting this agreement
                                agreernent is acting within the course and scope
                                                                           scope of their employment,
                                                                                 oftheir  employment, is
                 authorized to enter this agreement,
                 authorized               agreernen! and has the authority to bind the business entity by
                 executing
                 executing this agreement.

                I. All parties shall comply
                I.                   comply with all applicable laws, ordinances,                       of
                                                                      ordinances, codes and regulations of
                   federal, state, and local govemments.
                                       looal governments.

                J. No waiver
                J.    waiver of any of   the provisions
                                      ofthe             ofthis
                                             provisions of this Agreement
                                                                Agreement shall constitute
                                                                                 constitute a waiver of any
                                                                                                     ofany
                                   ofthis
                   other provision of this agreement.       waiver shall be considered
                                           agreement. No waiver             considered binding
                                                                                        binding unless
                   executed by the parties.

                K. This is aa wholly integrated
                K.                   integrated Agreement. This Agreement sets   sets forth the entire agreement
                   between all parties with regard to the subject
                                                           subjeot matter
                                                                    matter hereof.
                                                                           hereof. No other agreements,
                                                                                               agreemet)ts,
                   covenants,
                   covenants, representations,
                               representations, or warranties, express
                                                                express or implied,
                                                                            implied, oral or written, have been
                   made by either party to the other with
                                                       widr respect to the subject
                                                                           subject matter of    this agreement.
                                                                                             ofthis
                   All prior and contemporaneous
                                  contemporaneous conversations,
                                                      conversations, negotiations, possible and alleged
                   agreements, and representations,    covenants, and warranties, with respect
                                      representations, covenants,                          respect to the subject
                                                                                                          subject
                   matter
                   matler hereof  are  lreleby waived, merged herein and superseded
                           hereof arc hereby                                sr.rperseded hereby.


                L. In order to perform functions
                L.                       furctions as identified
                                                      idertified in Exhibit "A",
                                                                            "A", and which are necessary
                                                                                                   necessary to
                   enable BCHF's
                           BCIIF's compliance with all relevant
                                                          relevant privacy,
                                                                   privacy, security
                                                                             security and other
                                                                                          otlrer legal
                   requirements,
                   requirements, the parties hereby agree that PHCM is a Business
                                                                              Busirress Associate
                                                                                        Associate as defined in
                   the appropriate
                        appropriate regulations, as noted in Exhibit "B",
                                                                      "B", executed by both parties
                                                                                               parties and
                   incorporated
                    incorporated herein.
                                  herein.

               WIIEREOF, the Parties hereto have executed this agreement
    IN WITNESS WHEREOF,                                        ageement as
                                                                         as set
                                                                            set forth on the first page.

    For BCHF:
        BCHF:                                                   For PHCM:




     Bruse ebets,
     Bruce  bets, CEO                                           Daryl Priest,
                                                                      Priest, President

     Dated:
     Dated:       1L • ZIP/
                       t,l-t t                                   DaEd.Z-Zg- IlG'
                                                                Dated: 2- —2' 11




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                                                                                                           EXHIBIT A
                                                                                                           PAGE 160
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                                                    Exhibit
                                                     Bxhibit"A"
                                                             "A"
                          Scope
                           Scooeof
                                 ofManagement
                                   Ma nacementand
                                               andOther
                                                  OtherServices
                                                        Seryicesof
                                                                 ofPHCM
                                                                    PHCM

  The
    Thepurpose
          purposeofofthis
                      thislist
                            listof
                                 ofservices
                                    servicesisistotoidentify    anddelineate
                                                      identift and  delineateservices
                                                                               servicestotobe
                                                                                            beprovided
                                                                                               providedby    pHCM
                                                                                                         byPHCM
  ininfurtherance
       firtherance of   itsduties
                    ofits    duties under
                                     underthis
                                            thisagreement
                                                  agreement with     BCHFconcerning
                                                                withBCHF     oonceming BCHF's
                                                                                           BCHF'scontract
                                                                                                    contract dental
                                                                                                              dental
  program
    program andandcare
                   careof   BCHF's
                          ofBCHF's     participating
                                        participating    patients. PHCM    shall  provide   any and
                                                          patients. PHCM shall provide any andall    allnecessary
                                                                                                         necessary
  staff,
    staff,office
           offrcespace,
                  space,information
                           informatiousystems,
                                          systems, and      supportservices
                                                       andsupport   servicesset
                                                                              setforth
                                                                                  forthbelow
                                                                                        belowandandall
                                                                                                    allservices
                                                                                                        services
  reasonably     contemplated as
    reasonablycontemplated         asnecessary
                                      necessary to  toperform
                                                        performany
                                                                 anysuch
                                                                     suchservices.
                                                                           services.

    I.I. CONTRACT DENTAL MANAGEMENT
          CONTRACTDENTALMANAGEMENT

               a.a. PROVIDER CONTRACTING
                     PROVIDERCONTRACTING

                         i. Market
                              Market and
                                       andnegotiate      newDental
                                             negotiate new    DentalAgreements
                                                                       Ageements between
                                                                                       between BCHF
                                                                                                BCIIFandand new
                                                                                                             new
                             Contract
                              Contract Dentists
                                        Dentists throughout
                                                    throughout the    service areas   in which
                                                                  the service areas in which BCHFBCHF operates
                                                                                                        operates
                             FQHCs.
                              FQHCs.Currently,
                                        Currently, BCHF        operates FQHCs
                                                      BCHF operates      FQHCs in   inRiverside,
                                                                                       fuverside, San
                                                                                                   San Diego
                                                                                                       Diego and
                                                                                                              and
                             San  Bernardino      Counties.  Further,   PHCM     may   market  and
                              San Bernardino Counties. Further, PHCM may market and negotiate new   negotiate  new
                             Dental
                              Dental Agreements
                                      Agreements in            other service
                                                          any other
                                                      inany           sewice area
                                                                              area ininwhich
                                                                                        which BCHF
                                                                                               BCHF isisotherwise
                                                                                                         otherwise.
                             authorized
                              authorized to to provide
                                                provide dental
                                                         dental services.
                                                                 sorvices.
                         ll, Amend current Dental Agreements atatthe
                        ii.  Amend    current    Dental   Agreements             direction of
                                                                            the direction   ofBCHF
                                                                                               BCHF
                       iii.
                        iii. Maintain
                              Maintain files
                                         filescontaining
                                                 containing current
                                                             curcnt andandhistorical
                                                                           historical Dental
                                                                                        Dontal Agreements
                                                                                                Agreements
                       iv.
                        lv. Track
                              Track renewal
                                     renewal dates
                                                 dates of
                                                        ofDental
                                                           Dental Agreements.
                                                                    Agreements.

                b. PROVIDER
                b.          RELATIONS
                   PROVIDERRELATIONS

                          i. Maintain
                               Maintain database
                                           database of    contract dental
                                                      of contract   dental service
                                                                             service providers
                                                                                      providers and and contract
                                                                                                         contract dental
                                                                                                                   dental
                              service
                               service provider
                                        provider demographics.
                                                   demographics.
                         ii.
                          11, Monitor
                               Monitor contract              service providers'
                                                    dental service
                                          contract dental              providen' ability
                                                                                    ability to
                                                                                             to speak
                                                                                                 speak additional
                                                                                                        additional
                              languages
                               languages
                        iii.
                         lll. Provide
                               Provide contract
                                         contract dental              provider roster
                                                             service provider
                                                   dental service                roster as
                                                                                         as necessary
                                                                                             necessary
                        iv.           with                         updates    of contract
                         tv. Assist with development and updates of contract dental service
                              Assist         development      and                          dental    service provider
                                                                                                              provider
                              manuals
                               manuals
                          v. Produce
                               Produce andand distribute
                                               distribute contract
                                                            contract dental
                                                                       dental service
                                                                               service provider
                                                                                        provider manuals
                                                                                                     manuals
                        vi. Provide      ongoing                          education,
                               Provide ongoing communication, education, and training
                                                   communication,                     and   training toto contract
                                                                                                           contract dental
                                                                                                                     dental
                              service
                               service provider
                                        provider and
                                                   and their
                                                         their staffs   legarding BCHF
                                                                staffs regarding    BCTIF policies
                                                                                             policies and
                                                                                                        and procedures
                                                                                                             procedures
                       vii.
                        vll. Provide
                               Provide ongoing      communication, education,
                                         ongoing communication,           education, and
                                                                                       and training
                                                                                            training toto contract
                                                                                                           conkact dental
                                                                                                                     dental
                              service   provider         their staff  regarding   any
                               service provider and their staff regarding any changes in scope of
                                                   and                                 changes     in scope   of services
                                                                                                                  services
                               and
                                and fee
                                    fee schedules.
                                         sohedules.
                       viii.
                       vin. Provide
                                Provide telephone
                                         telephone line
                                                      line for
                                                            for contract
                                                                 contract dental
                                                                            dental service
                                                                                    service provider
                                                                                              provider inquiries
                                                                                                         inquiries
                         ix.   Answer    contract
                          ix. Answer contract dental service provider eligibility inquiries
                                                   dental    service  provider   eligibility   inquiries
                           x.
                           x. Answer
                                Answer contract
                                          contract dental
                                                    dental service
                                                             service provider
                                                                       provider claims
                                                                                  claims inquiries
                                                                                          inquiries
                          xi. Create
                         xi.    Create and
                                        and distribute
                                             distribute administrative       forms
                                                          administrative forms
                        xii.
                        xll. Develop
                                Develop andand distribute    contract dental
                                               distribute contract      dental service
                                                                                service provider
                                                                                         provider newsletter
                                                                                                     newsletter

     II.
     II.    CLAIM MANAGEMENT
            CLAIM MANAGEMENT
                    i.i. PHCM
                         PHCM shall    obtain from contracted
                                 shall obtain      contracted dentists
                                                              dentists such
                                                                         such information
                                                                               information relating
                                                                                            relating to
                                                                                                      to
                         claims and submit
                         claims and submit the same
                                                 same to BCHF inin aa format
                                                                      format that
                                                                              that enables
                                                                                    enables BCHF
                                                                                            BCFIF toto



 e                                                                                                                EXHIBIT A
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                               bill
                                bill for  such claims.
                                      for such           As part
                                                claims. As       ofthis
                                                            part of thisservice     based on
                                                                                and based
                                                                        service and              receipt of
                                                                                           on aareceipt  of
                               information
                                information from     BCHF,    PHCM    shall monitor claims, billing
                                                from BCHF, PHCM shall monitor claims, billing and   and
                               payment
                                payment to  to dentists.
                                               dentists.

   IIL
   III.   MANAGEMENT
          MA-].JAGE MENTINFO RMATIONSYSTEM
                         INFORMATION SYSTEM

            a.
            a. Provide aa computerize
               Provide    computerizedd manageme
                                         management nt infonnation  system to
                                                        information system               and storc
                                                                               process and
                                                                            to process       store data
                                                                                                   data
               pertaining               ics of
                              demographics
                           to demograph
               pertaining to                 of and          provided  to Participatin g Patients;
                                                    services provided to Participating Patients;
                                                and services
            b.
            b. Provide
               Provide appropriate
                        appropriate data           and, among
                                          security and,
                                    data security        among other  necessary functions:
                                                                other necessary  functions:

                       i. Reshict   access to
                          Restrict access            security in
                                                data security
                                            to data                 compliance with
                                                                 in compliance          applicable federal
                                                                                 with applicable    federal and
                                                                                                            and
                          state laws
                          state       and regulations
                                 laws and regulations
                      ii. Restrict
                     u.             access to
                          Restrict access   to data of participatin
                                               data of participating g patients
                                                                       patients
                    lll.  Restrict access
                    iii. Restrict   access to  data by
                                            to data     user and
                                                    by user         security classificatio
                                                               and security  classificationn
                          Compliancee with
                     iv. Complianc                 HIPAA and
                                          with HIPAA            and any
                                                                      any other       regulationss conceming
                                                                             other regulation        concerning
                          participatih g patient
                          participating patient data
                                                  data
                          Provide physical
                      v. Provide              security at
                                    physical security           buildings that
                                                           all buildings
                                                        at all                  house data
                                                                           that house   data

             c.
             c.   Provide BCHF-main
                  Provide              tained Web-based
                           BCHF-maintained     Web-based access   to data for
                                                           access to                    dental providers
                                                                               contract dental
                                                                           for contract        providers
                  and their staff for its hardware,  Internet connectivit
                                          hardware, Intemet   connectivityy and web-brows    ing for
                                                                                  web-browsing    for the
                                                                                                      the
                  following,     not limited
                             but not
                  following, but     limited functions:
                                             functions:

                        l.i.    Claims inquiries
                                Claims   inquiries
                      ll.
                       ii.      Claims submission
                                Claims   submission
                     ll!.
                     iii.       Eligibility
                                Eligibility inquiries
                                            inquiries
                     lv.
                      iv.       Authorizatio
                                Authorization n inquiries
                                                inquiries
                       v.       Authorizatio  n submission
                                Authorization submission

             d.
             d.   Help Desk and
                  Help Desk and Support
                                Support

                              Provide, maintain
                         l.i. Provide,            and support
                                        maintain and           issues related
                                                      support issues  related to
                                                                              to data
                                                                                 data access
                                                                                      access
                        ii.. Maintain                   network connections
                                        all servers and network
                              Maintain all                                      for PI{CM
                                                                  connections for           systems
                                                                                    PHCM systems
                      llI.                   maintain all
                      iii. Provide and maintail           desktop  systemVha    rdware
                                                                   systems/hardware     at PHCM    opemtions
                                                                                                   operations
                              center(s)
                              center(s)
                              Provide and
                       iv. Provide               maintain all
                                         and maintain        all software       (including licensing
                                                                   software (including        licensing and and
                              troubleshoo  ting)
                              troubleshooting) at PHCM operations
                                                           operations center(s)
                                                                        center(s)
                                                     support to contact
                              Provide training and support
                        v. Provide                               contract dental service
                                                                                  service users and their
                                                                                          users and  their staff
                              remotely
                       vl.                   maintain phone system for calls directed to PHCM operations
                       vi. Provide and maintain                                                     operations
                              center(s)
                              center(s)

              e.
              e  Remote System Access

                          i. Provide
                          i.                          management information system
                                            acc€ss to management
                             Provide remote access
                         ii. Support remote
                         ii.                       connectivit
                                     remorc access connectivityy

    rv.
    IV.    QUALTTY MANAGEMENT
           QUALITY            (,QM')
                   MANAGEMENT ("QM")

                                                                                                                  2

  \-9
  \9                                                                                                                  A
                                                                                                              EXHIBIT A
                                                                                                              PAGE 162
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           a.A.QM
                QMPLAN, POLICIES AND
                   PLAN,POLICIES  ANDPROCEDURES
                                      PROCEDIJRES

                    i.i. Assist
                           Assistwith
                                  withthe
                                       theimplementation
                                            implementationof   ofaaQM
                                                                    QMplan  afterreviewing
                                                                       planafter  reviewing BCHF's
                                                                                             BCHF's
                          operation of its contract dental   services
                           operation of its contract dental services
                   ii.ii. Implement
                           Implementaastandard
                                         standardQMQMPolicy
                                                         Policyand
                                                                 andProcedure   Manualthat
                                                                     ProcedureManual    thatmeets
                                                                                             meets
                           appropriatestandards
                          appropriate  standardsandandregulations
                                                        regulations
                   iii. Resolve
                  iii.     Resolveparticipating    patient grievance
                                    participating patient   grievanceand
                                                                      andappeals
                                                                          appealsissues
                                                                                   issuesas
                                                                                          asoutlined
                                                                                             outlined inin
                          PHCM's
                           PHCM'sQM  QM  plan
                                           plan

            b.b. QM
                 QMMEETINGS
                    MEETINGS

                    i.i. Schedule        prepareagenda,
                                     andprepare
                           Scheduleand           agenda,meeting   minutes, and
                                                         meeting minutes,    andmaterial
                                                                                 materialfor
                                                                                          for monthly
                                                                                              monthly
                           QMCommittee
                          QM   Commitiee meetings
                                           meetings
                   ii.ii. Attend
                           Attend QM
                                  QMCommittee
                                       Cornmittee meetings
                                                   meetings
                   iii. Coordimte and prepare forany
                  iii.    Coordinate  and prepare for any contract
                                                           contract dental
                                                                     dentalprogram
                                                                            programaudits
                                                                                    auditsfrom
                                                                                            fromany
                                                                                                 any
                          regulatory
                           regulatoryagencies
                                      agencies

            c. QM
               QMREPORTING
                  REPORTING

                    i.i. Provide
                          Provide reports
                                   reports for
                                            for QM
                                                 QM Committee
                                                      Committee meetings
                                                                   meetings
                    ii. Provide
                   ii.    Provide reports as required for
                                  reports  as  required  for QM    delegation reporting
                                                              QM delegation     reporting
                   iii. Track
                  iii.    Track and   report participating
                                 and report   participating patient
                                                             patient grievance    and appeals
                                                                      grievance and    appeals issues
                                                                                                issues
                   iv. Perform contract dental service provider. surveys and report survey's
                  iv.    Perform   contract  dental  service  provider   surveys   and report  survey's
                         findings
                          findings
                   v.v. Perform
                          Perform participating
                                    participaling patient   zurveys and
                                                   patient surveys   and report    survey's findings
                                                                           report survey's   findings


    V. PARTICIPATING
    V.               PATIENT MANAGEMENT
       PARTICIPATINGPATIENTMANAGEMENT

            a.a. ELIGIBILITY
                 ELIGIBILITYVERIFICATION
                             VERIFICATION

                     i.i. Reconcile
                          Reconcile eligibility
                                       eligibility data  to load
                                                   data to         ilto management
                                                             load into  managemert information
                                                                                        information system
                                                                                                       system
                     ii. Maintain
                    ii.   Maintain participating
                                      participating patient
                                                      patient eligibility
                                                               eligibility database
                                                                            database
                    iii. Identify
                   iii.   Identify each
                                     each participating
                                           participating patient
                                                           patient byby using
                                                                        using established
                                                                               established identification
                                                                                             identification
                          number
                          number
                    iv. Assist
                   iv.    Assist with
                                   with determination
                                        determination of  of participating
                                                              participating patient
                                                                              patient eligibility
                                                                                      eligibility for
                                                                                                   for services
                                                                                                        setvices
                          prior
                          prior to  provision of
                                 to provision   of services
                                                    services
                     v. Maintain
                     v.   Maintain andand track
                                           track eligibility
                                                  eligibility of
                                                               of services
                                                                  services for
                                                                             for each
                                                                                 each participating
                                                                                       participating patient
                                                                                                       patient


             b. PARTICIPATING
             b. PARTICIPATING PATIENT
                              PATIENT SERVICES
                                      SERVICES

                     i.i. Provide
                          Provide telephone
                                  telephone line
                                               line for
                                                    for participating
                                                        participating patient
                                                                        patient inquiries
                                                                                inquiries
                     ii. Answer participating patient eligibility inquiries
                    ii.   Answer  participating    patient eligibility inquiries
                    iii. Answer
                   iii.   Answer participating
                                   participating patient
                                                   patient claims
                                                           claims inquiries
                                                                    inquiries
                    iv. Generate
                   iv.    Generate telephone
                                    telephone tracking
                                                 tracking reports
                                                           reports

    VI. REPORTING
    VI. REPORTING —- Data
                     Data is
                          is reported
                             reported on
                                      on aa per month
                                                month basis
                                                      basis and
                                                            and compared
                                                                compaled to
                                                                         to BCHF
                                                                            BCHF and
                                                                                 and
                                                                                                                   3


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         industry  benchmarkswhen
          industrybenchmarks  whenavailable
                                   available

            a.a. Patient  andEncounter
                  Patientand  Encounter information
                                         irformation asasrequired      bereported
                                                          requiredtotobe  reportedininthe
                                                                                       theaggregate
                                                                                           aggregateon
                                                                                                     on
                 BCHF's    UniformData
                  BCIIF'sUniform   DataSystem     (UDS)Report
                                          System(UDS)      Report
            b.b, Claim   andPayment
                  Claimand   Paymentdata
                                      data


   VII. GENERAL
   VII.         ADMINISTRATION
        GENERALADMIN]STRATION

            a.a. Monitor
                  Monitor all
                           allcomponents
                               components of   ofBCHF's
                                                 BCHF'sContract       DentalProgram
                                                           Contract Dental    Program
            b.b. Coordinate
                  Coordinate printing
                               p:inting of all forms  and  letterhead
                                         of all forms and lettelhead   (as
                                                                        (asneeded)
                                                                            needed) on
                                                                                     onBCHF
                                                                                       BCHFstationery
                                                                                               stationery
            c.c. Process  participating  patient
                  Process participating patientand     contract  dental  service provider-related
                                                   and contract dental service provider-related mail,
                                                                                                   mail,
                 both
                  bothincoming
                       incoming andandoutgoing
                                        outgoing
            d.d. Short
                  Short and  long-range financial
                         andlong-range     financial and  strategic planning
                                                      andstrategic   planning
            e.e. Contract   dentalservice
                  Contract dental   serviceprovider          regulatoryagency/agencies
                                                        and regulatory
                                              provider and               agency/agenciesrelationship
                                                                                          relationship
                 management
                  management




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